Case 3:18-cv-00637-FLW-LHG Document 71 Filed 04/29/20 Page 1 of 1 PagelD: 401

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

MICHAEL A. LIONELLI CIVIL ACTION
DOCKET NO: 3:18-CV-00637-FLW-JHG

Plaintiff,
vs.

HAMILTON TOWNSHIP, JOHN DOES 6-
10 (fictitious individuals), Personnel of the
Hamilton Township Police Department in
supervisory capacities; DETECTIVE GARY
BURGER, PATRICK GUIDO, MICHAEL
MCGOWAN, PETER FRASCELLA, and
JOHN DOES 1-5 (fictitious individuals),
members of the Hamilton Township Police
Department

 

Defendant.

STIPULATION OF DISMISSAL

 

The matter in difference in the above-captioned action having been amicably adjusted by
and between the parties, it is hereby stipulated and agreed that the same be and is hereby

dismissed with prejudice as to Officer Peter Frascella only and without costs against either party.

Dated: March 5, 2020

 

 

CAPEBART & SCATCHARD, P.A. MALLON NGER
By: J a fi
wines ——— aah on, Esq.
Attorney forDefendant(s), Attomey for Plaintiffs(s),
Hamilton Township Michael A/ Lionelli

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